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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

HOWARD COHAN

        Plaintiff,

v.
                                                   Case No. 1:22-cv-00716
Hotel Crown CP-ATL, LLC,

        Defendant.



                         PLAINTIFF’S AMENDED COMPLAINT FOR
                         DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Howard Cohan, through his undersigned counsel, states the following in

support of his Amended Complaint for Declaratory and Injunctive Relief to remedy

discrimination by Defendant Hotel Crown CP-ATL, LLC based on Plaintiff’s disability in

violation of Title III of the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12181 et

seq. (“ADA”), and its implementing regulation, 28 C.F.R. Part 36:

                                JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this action pursuant to 42 U.S.C. §

2000a-3(a), 28 U.S.C. § 1331, and 28 U.S.C. § 1343.

        2.      Venue is appropriate in this district under 28 U.S.C. § 1391 because the

acts of discrimination occurred in this district, and the property that is the subject of this

action is in this district.

                                          PARTIES

        3.      Plaintiff is a resident of Palm Beach County, Florida.




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       4.     Defendant Hotel Crown CP-ATL, LLC. is a limited liability company with its

registered office located at 2 Sun Court, Suite 400 Peachtree Corners, GA 30092.

       5.     Upon information and belief, Defendant Hotel Crown CP-ATL, LLC. owns

or operates “Embassy Suites by Hilton Atlanta Perimeter Center” whose location

qualifies as a “Facility” as defined in 28 C.F.R. § 36.104.

                                 FACTUAL ALLEGATIONS

       6.     Plaintiff incorporates the above paragraphs by reference.

       7.     Plaintiff is an individual with numerous disabilities, including severe spinal

stenosis of the lumbar spine with spondylolisthesis and right leg pain, severe spinal

stenosis of the cervical spine with nerve root compromise on the right side, a non-union

fracture of the left acromion, a labral tear of the left shoulder, a full thickness right rotator

cuff tear, a right knee medial meniscal tear, a repaired ACL and bilateral meniscal tear

of the left knee and severe basal joint arthritis of the left thumb. These conditions cause

sudden onsets of severe pain and substantially limit Plaintiff’s ability to perform certain

manual tasks, walk, stand, lift, bend, and work. The disabilities and symptoms are

permanent.

       8.     Plaintiff suffered from these disabilities during his initial visit (and prior to

instituting this action) to Embassy Suites by Hilton Atlanta Perimeter Center.

       9.     Plaintiff’s disabilities are considered a qualified disability under 28 C.F.R.

36.105.

       10.    Plaintiff’s condition is degenerative and occasionally requires mobility aids

to assist his movement.




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       11.      Plaintiff regularly travels to the Atlanta area to visit friends and shop. Most

recently, Plaintiff was in the Atlanta area in June 2021, and plans to return to the area in

February 2022.

       12.      Plaintiff stays at hotels when he is in the area.

       13.      Plaintiff does not always stay at the same hotel, but prefers to shop

around for the best prices, amenities, location, and ease of access to accommodate his

disabilities.

       14.      Plaintiff regularly experiences barriers to access relating to his disability at

hotels due to his frequent travels.

       15.      While many hotels advertise that they have accessible rooms or public

areas, Plaintiff still regularly encounters barriers to access.

       16.      This requires Plaintiff to visit hotels that offer the amenities, pricing, and

location he desires prior to booking a stay to ensure that he can access the Facility in a

manner equal to non-disabled individuals.

       17.      Despite advertising that the Embassy Suites by Hilton Atlanta Perimeter

Center is accessible, Plaintiff encountered barriers to access at the Atlanta Facility,

which denied him full and equal access and enjoyment of the services, goods, and

amenities when he visited on July 9, 2019 and June 10, 2021.

       18.      Plaintiff is currently deterred from considering the Facility as an option for

lodging on his future planned visits due to the barriers and discriminatory effects of

Defendant’s policies and procedures at the Facility.




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       19.     Plaintiff is deterred from returning due to the barriers and discriminatory

effects of Defendant’s policies and procedures at the Facility.

       20.     Plaintiff returns to every Facility after being notified of remediation of the

discriminatory conditions to verify compliance with the ADA and regularly monitors the

status of remediation.

                              COUNT I
        REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

       21.     Plaintiff incorporates the above paragraphs by reference.

       22.     This Court is empowered to issue a declaratory judgment regarding: (1)

Defendant’s violation of 42 U.S.C. § 12182; (2) Defendant’s duty to comply with the

provisions of 42 U.S.C. § 12181 et al; (3) Defendant’s duty to remove architectural

barriers at the Facility; and (4) Plaintiff’s right to be free from discrimination due to his

disability. 28 U.S.C. § 2201.

       23.     Plaintiff seeks an order declaring that he was discriminated against on the

basis of his disability.

                                COUNT II
         REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

       24.     Plaintiff incorporates the above paragraphs by reference.

       25.     The Atlanta Facility is a place of public accommodation covered by Title III

of the ADA because it is operated by a private entity, its operations affect commerce,

and it is a restaurant. 42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.




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       26.     Defendant is a public accommodation covered by Title III of the ADA

because it owns, leases (or leases to), or operates a place of public accommodation.

See 42 U.S.C. §§ 12181(7), 12182(a); 28 C.F.R. § 36.104.

       27.     Architectural barriers exist which deny Plaintiff full and equal access to the

goods and services Defendant offers to non-disabled individuals.

       28.     Plaintiff personally encountered architectural barriers on July 9, 2019 and

June 10, 2021 at the Atlanta Facility located at 1030 Crown Pointe Parkway, Atlanta,

GA 30338 that affected his disabilities:

             a. Men’s Restroom Lobby:

                   i. Providing a gate or door with a continuous opening pressure of

                      greater than 5 lbs. exceeding the limits for a person with a disability

                      in violation of sections 404, 404.1, 404.2, 404.2.9 and 309.4 of the

                      Standards, which aggravates the rotator cuff injury in his shoulder

                      and causes undue strain on his back because the door pressure is

                      too heavy.

                   ii. Failing to provide operable parts that are functional or are in the

                      proper reach ranges as required for a person with a disability in

                      violation of sections 309, 309.1, 309.2, 309.3, 309.4 and 308 of the

                      Standards, which causes unnecessary strain on Plaintiff’s back and

                      shoulder injuries.

                  iii. Failing to provide the required clear floor space around a water

                      closet without any obstructing or non-essential convenience




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          elements or fixtures placed in this space in violation of sections

          4.22.3, 603, 603.2.3, 604, 604.3, 604.3.1, 604.3.2 and 604.8,

          604.8.1.1 of the Standards, which prevents Plaintiff from using the

          grab bars he requires to get onto and off of the toilet.

       iv. Providing grab bars of improper horizontal length or spacing as

          required along the rear wall in violation of sections 604, 604.5,

          604.5.1 and 604.5.2 of the Standards, which prevents Plaintiff from

          using the left side grab bar for the assistance he needs getting onto

          and off of the toilet due to his back and knee injuries.

       v. Providing grab bars of improper horizontal length or spacing as

          required along the rear wall in violation of sections 604, 604.5,

          604.5.1 and 604.5.2 of the Standards, which prevents Plaintiff from

          using the right side grab bar for the assistance he needs getting

          onto and off of the toilet due to his back and knee injuries.

      vi. Failing to provide rear grab bars at 33 inches minimum and 36

          inches maximum above the finished floor measured to the top of

          the gripping surface in violation sections 609, 609.4 and 609.7 of

          the Standards, which prevents Plaintiff from using the grab bars for

          the assistance he needs getting onto and off of the toilet due to his

          back and knee injuries.

      vii. Failing to provide a coat hook within the proper reach ranges for a

          person with a disability in violation of sections 603, 603.4 and 308




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          of the Standards, which causes unnecessary strain on Plaintiff’s

          back and shoulder injuries to use the coat hook.

      viii. Failing to provide a dispenser in an accessible position (back wall

          or other inaccessible place) so that it can be reached by a person

          with a disability in violation of sections 606, 606.1, 308 and 308.2.2

          of the Standards, which causes unnecessary strain on Plaintiff’s

          back and shoulder injuries to use the dispenser.

       ix. Failing to provide the water closet in the required proper position

          relative to the side wall or partition in violation of sections 604 and

          604.2 of the Standards, which prevents Plaintiff from using the grab

          bar to get on and off of the toilet because the toilet is not in the

          proper position from the wall.

       x. Failing to provide flush controls located on the open side of the

          water closet in violation of sections 309, 309.4, 604 and 604.6 of

          the Standards, which causes Plaintiff to unnecessarily strain his

          back, legs, and shoulder in order to reach across the toilet and

          flush.

       xi. Failing to provide proper signage for an accessible restroom or

          failure to redirect a person with a disability to the closest available

          accessible restroom facility in violation of sections 216, 216.2,

          216.6, 216.8, 603, 703, 703.1, 703.2, 703.5 and 703.7.2.1 of the

          Standards.




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 b. Unisex Restroom No. 1

       i. Failing to provide the required clear floor space around a water

          closet without any obstructing or non-essential convenience

          elements or fixtures placed in this space in violation of sections

          4.22.3, 603, 603.2.3, 604, 604.3, 604.3.1, 604.3.2 and 604.8,

          604.8.1.1 of the Standards, which prevents Plaintiff from using the

          grab bars he requires to get onto and off of the toilet.

       ii. Failing to provide the proper spacing between a grab bar and an

          object projecting out of the wall in violation of sections 609, 609.1

          and 609.3 of the Standards, which prevents Plaintiff from grasping

          the grab bar due to his hand and shoulder injuries, and therefore

          strains his back and knee injuries as he needs the grab bars for

          assistance in getting onto and off of the toilet.

      iii. Failing to provide rear grab bars at 33 inches minimum and 36

          inches maximum above the finished floor measured to the top of

          the gripping surface in violation of sections 609, 609.4 and 609.7 of

          the Standards, which prevents Plaintiff from using the grab bars for

          the assistance he needs getting onto and off of the toilet due to his

          back and knee injuries.

       iv. Failing to provide toilet paper dispensers in the proper position in

          front of the water closet or at the correct height above the finished

          floor in violation of sections 604, 604.7 and 309.4 of the Standards,




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          which causes unnecessary strain on his shoulder, back and legs in

          order to reach the dispenser.

       v. Failing to provide a dispenser in an accessible position (back wall

          or other inaccessible place) so that it can be reached by a person

          with a disability in violation of sections 606, 606.1, 308 and 308.2.2

          of the Standards, which causes unnecessary strain on Plaintiff’s

          back and shoulder injuries to use the dispenser.

 c. Unisex Restroom No. 2

        i. Failing to provide the proper spacing between a grab bar and an

          object projecting out of the wall in violation of sections 609, 609.1

          and 609.3 of the Standards, which prevents Plaintiff from grasping

          the grab bar due to his hand and shoulder injuries, and therefore

          strains his back and knee injuries as he needs the grab bars for

          assistance in getting onto and off of the toilet.

       ii. Providing grab bars of improper horizontal length or spacing as

          required along the side wall in violation of sections 604, 604.5,

          604.5.1 and 604.5.2 of the Standards, which prevents Plaintiff from

          using the grab bars for the assistance he needs getting onto and off

          of the toilet due to his back and knee injuries.

       iii. Failing to provide toilet paper dispensers in the proper position in

          front of the water closet or at the correct height above the finished

          floor in violation of sections 604, 604.7 and 309.4 of the Standards,




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                      which causes unnecessary strain on his shoulder, back and legs in

                      order to reach the dispenser.

                   iv. Failing to provide a dispenser in an accessible position (back wall

                      or other inaccessible place) so that it can be reached by a person

                      with a disability in violation of sections 606, 606.1, 308 and 308.2.2

                      of the Standards, which causes unnecessary strain on Plaintiff’s

                      back and shoulder injuries to use the dispenser.

       29.     These barriers cause Plaintiff difficulty in safely using each element of the

Facility because of Plaintiff’s impaired mobility and limited range of motion in his arms,

shoulders, legs, and hands requiring extra care due to concerns for safety and a fear of

aggravating his injuries.

       30.     Defendant has failed to remove some or all of the barriers and violations

at the Facility.

       31.     Defendant’s failure to remove these architectural barriers denies Plaintiff

full and equal access to the Facility in violation of 42 U.S.C. § 12182(b)(2)(A)(iv).

       32.     Defendant’s failure to modify its policies, practices, or procedures to train

its staff to identify architectural barriers and reasonably modify its services creates an

environment where individuals with disabilities are not provided goods and services in

the most integrated setting possible is discriminatory. 42 U.S.C. §§ 12182(a),

12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.

       33.     It would be readily achievable for Defendant to remove all of the barriers

at the Facility.




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       34.    Failing to remove barriers to access where it is readily achievable is

discrimination   against   individuals   with     disabilities.   42   U.S.C.   §§   12182(a),

12182(b)(2)(A)(iv), and 28 C.F.R. § 36.304.

                                  RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

       A.     declare that the Facility identified in this Amended Complaint is in violation

of the ADA;

       B.     declare that the Facility identified in this Amended Complaint is in violation

of the 2010 ADA Standards for Accessible Design;

       C.     enter an Order requiring Defendant make the Facility accessible to and

usable by individuals with disabilities to the full extent required by Title III of the ADA

and the 2010 ADA Standards for Accessible Design;

       D.     enter an Order directing Defendant to evaluate and neutralize its policies,

practices, and procedures towards persons with disabilities;

       E.     award Plaintiff attorney fees, costs (including, but not limited to court costs

and expert fees) and other expenses of this litigation pursuant to 42 U.S.C. § 12205;

and

       F.     grant any other such relief as the Court deems just and proper.

                                                   Respectfully Submitted,

                                                   /s/ Barry Debrow Jr.
                                                   Georgia Bar No.445097
                                                   Debrow Law P.C.
                                                   12 Bullsboro Dr.
                                                   Newnan, Ga 30263
                                                   (678) 381-6871
                                                   barry@debrowlaw.com


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Dated: March 22, 2022




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